  Case 1:21-cv-00083-DBH Document 1 Filed 03/26/21 Page 1 of 5                    PageID #: 1




                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

 Derek Castonguay,                       *
                                         *
       Plaintiff                         *
                                         *
 v.                                      *
                                         *
 Mac's Convenience Stores DBA            *                      CIVIL ACTION
 Circle K,                               *
                                         *                      DOCKET NO.:
       Defendant                         *
                                         *
                                         *
                                         *
                                         *
                                         *
                                         *


                            Complaint and Demand for Jury Trial

       Now comes Plaintiff Derek Castonguay, by and through undersigned counsel, and avers as

follows:

                                             Parties

       1.      Plaintiff, Derek Castonguay, is a resident of Van Buren, County of Aroostook, State

of Maine.

       2.      Defendant Mac’s Convenience Stores DBA Circle K (“Circle K”) is a Delaware

corporation with its principal place of business in Columbus, Indiana.

                                    Jurisdiction and Venue

       3.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, because:

(a) there is complete diversity of citizenship between Plaintiff and Defendant and (b) the amount

in controversy exceeds $75,000.
  Case 1:21-cv-00083-DBH Document 1 Filed 03/26/21 Page 2 of 5                       PageID #: 2




         4.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391, because the actions

complained about herein occurred in the State of Maine and Plaintiff resides in the State of Maine.

                                                 Facts

         5.     Circle K owns and operates a convenience store at 89 High Street in Caribou,

Maine.

         6.     On or about January 10, 2020, Plaintiff, a minor at that time, was on the premises

of Circle K as a customer.

         7.     At the same time and place, Plaintiff was violently assaulted in plain sight of an

employee of Circle K and other store customers.

         8.     The assailant left the inside of the store.

         9.     After the assailant left the inside of the store, there remained concern that the

assailant continued to pose an ongoing risk to Plaintiff and other store customers, including risk

that the assailant was armed with a gun and would return to the store or attack persons upon leaving

the store.

         10.    Because Plaintiff had no means of transportation, a taxi was called to pick up

Plaintiff from Circle K.

         11.    A taxi arrived and picked up Plaintiff at Circle K.

         12.    The assailant followed the taxi in another vehicle until the taxi arrived at its

destination.

         13.    Upon arrival at the taxi’s destination, the taxi came to a stop and the assailant shot

Plaintiff, causing Plaintiff severe, life-threatening injuries.
  Case 1:21-cv-00083-DBH Document 1 Filed 03/26/21 Page 3 of 5                         PageID #: 3




                                       Count I - Negligence

       14.     Plaintiff realleges the preceding allegations as if set forth fully herein.

       15.     As the proprietor of a convenience store, Circle K owed a duty to exercise

reasonable care regarding the safety of its customers, including a duty to protect customers from

known dangers and those dangers it should reasonably anticipate.

       16.     Circle K breached its duty for reasons including but not limited to the following—

               a.      Circle K failed to reasonably recruit, hire, and supervise its employees.

               b.      Circle K failed to reasonably train its employees.

               c.      Circle K, acting by and through its employees, failed to take reasonable

actions to protect Plaintiff, its other customers, and its employees, from known dangers and

dangers it should reasonably have anticipated.

       17.     Circle K’s breach was a proximate cause of injuries and losses to Plaintiff.

       18.     Plaintiff’s injuries and losses proximately caused by Circle K’s breach include, but

are not limited to, personal injuries; permanent impairment; emotional distress; lost earnings and

earning capacity; medical and life care expenses; pain and suffering; and lost enjoyment of life.



       WHEREFORE, Plaintiff seeks judgment against Defendant for compensatory damages,

interest, costs, attorney fees and such other and further relief as this Court deems just and

appropriate.



                                         Demand for Jury Trial

                        Plaintiff hereby requests that his claim be tried by a jury.
  Case 1:21-cv-00083-DBH Document 1 Filed 03/26/21 Page 4 of 5    PageID #: 4




Date: March 26, 2021

                                              /s/ Benjamin R. Gideon
                                              Benjamin R. Gideon
                                              Maine Bar No.: 9419
                                              Gideon Asen LLC
                                              19 Yarmouth Drive, Suite 203
                                              New Gloucester, ME 04260
                                              Attorney for Plaintiff
                                              Service@gideonasenlaw.com
  Case 1:21-cv-00083-DBH Document 1 Filed 03/26/21 Page 5 of 5                   PageID #: 5




                               CERTIFICATE OF SERVICE

         I hereby certify that on March 16, 2021, I electronically filed Complaint and Demand for
Jury Trial with the Clerk of Courts using the CM/ECF system which will send notification of such
filing to the following:



                                                           /s/ Benjamin R. Gideon
                                                           Benjamin R. Gideon
                                                           Maine Bar No.: 9419
                                                           Gideon Asen LLC
                                                           19 Yarmouth Drive, Suite 203
                                                           New Gloucester, ME 04260
                                                           Attorney for Plaintiff
                                                           Service@gideonasenlaw.com
